Case 6:23-cv-00871-CEM-DCI Document 194-3 Filed 09/19/24 Page 1 of 11 PageID 3820




                  EXHIBIT 3
       Case 6:23-cv-00871-CEM-DCI Document 194-3 Filed 09/19/24 Page 2 of 11 PageID 3821




Entries Report
Entry time                 Guest name                  Tap, #1   TaQ #2       Destination:
05/01/2017 10:21:13 AM     rebekah dorworth            415YSE                 1520 WHISTABLE COURT
05/01/2017 11:09:08 AM     ROYAL MAIDS                 GCYI11                 1520 WHISTABLE COURT
05/01/2017 11:47:51 AM     thomas booth                E58758                 1520 WHISTABLE COURT
05/01/2017 03:53:31 PM     DEVAUGHN MURPHY             317PYJ                 1520 WHISTABLE COURT
05/01/2017 05:52:20 PM     REBEKAH DORWORT H           HKXOR                  1520 WHISTABLE COURT
05/02/2017 09:43:42 AM     APEX POOL                   HQFX70                 1520 WHISTABLE COURT
05/02/2017 04:20:29 PM     REBEKAH DORWORTH            415YSE                 1520 WHISTABLE COURT
05/03/2017 05:58:48 PM     REBEKAH DORWORTH            HKXOR                  1520 WHISTABLE COURT
05/03/2017 08:03:39 PM     FRANK IOPPOLD JP            761QDJ                 1520 WHISTABLE COURT
05/04/2017 02:11:37 PM     jamie burns                 GCYI11                 1520 WHISTABLE COURT
05/04/2017 06:04:50 PM     REBEKAH                     HKXOR                  1520 WHISTABLE COURT
05/04/2017 08:02:50 PM     FRANK IOPPOLO JR            7610DJ                 1520 WHISTABLE COURT
05/05/2017 01:16:00 PM     FRANK IOPPOLO               7610DJ                 1520 WHISTABLE COURT
05/05/2017 03:48:33 PM     REBEKAH                     HKXOR                  1520 WHISTABLE COURT
05/05/2017 07:12:46 PM     REBEKAH                     HKXOR                  1520 WHISTABLE COURT
05/05/2017 11:38:16 PM     REBEKAH DORWORTH            HKXOR                  1520 WHISTABLE COURT
05/06/2017 04:43:57 PM     REBEKAH DORWORTN            HKXOR                  1520 WHISTABLE COURT
05/06/2017 06:53:43 PM     FRANK IOPPOLO JR            761QDJ                 1520 WHISTABLE COURT
05/06/2017 06:54:56 PM     REBEKAH DORWOR T            HKXOR                  1520 WHISTABLE COURT
05/06/2017 10:05:46 PM     ALVIN WILSON JR             312TLT                 1520 WHISTABLE COURT
05/07/2017 01:22:57 PM     chris dorworth              NA                     1520 WHISTABLE COURT
05/07/2017 04:36:48 PM      DORWOR                     639PA                  1520 WHISTABLE COURT
05/07/2017 07:14:18 PM     PAPA JOES                   BXBL31                 1520 WHISTABLE COURT
05/07/2017 07:17:18 PM     REBEKAH DORWORTH            HKXOR                  1520 WHISTABLE COURT
05/08/2017 12:00:16 PM     lendra ward                 CXVB97                 1520 WHISTABLE COURT
05/09/2017 12:13:27 AM     CHRISTOPHER DORWORTH        639PA                  1520 WHISTABLE COURT
05/09/2017 09:57:11 AM     APEX POOL                   HQFX70                 1520 WHISTABLE COURT
05/09/2017 12:05:42 PM     mainline ele                781RLN                 1520 WHISTABLE COURT
05/09/2017 02:42:04 PM     WILLIAM RICE                DYAD11                 1520 WHISTABLE COURT
05/09/2017 06:39:08 PM     REBEKAH DORWORTH            HKXOR                  1520 WHISTABLE COURT
05/10/2017 12:23:12 AM     CHRISTOPHER DORWORTH        639PA                  1520 WHISTABLE COURT
05/10/2017 01:38:40 PM     chris dorworth              639PA                  1520 WHISTABLE COURT
05/10/2017 03:39:15 PM     DORWORTH DONNA              DMUB70                 1520 WHISTABLE COURT
05/10/2017 03:48:45 PM     CHR DORY ORTH               639PA                  1520 WHISTABLE COURT
05/10/2017 04:10:19 PM     RICHARDS JUSTIN             670PZR                 1520 WHISTABLE COURT
05/10/2017 05:37:57 PM     REBEKA                      HKXOR                  1520 WHISTABLE COURT
05/10/2017 05:39:22 PM     DORWORTH DONNA              DMUB70                 1520 WHISTABLE COURT
05/10/2017 08:19:02 PM     LUKE CLASSON                CGKE26                 1520 WHISTABLE COURT
05/11/2017 08:05:29 AM     chris dorworth              639PA                  1520 WHISTABLE COURT
05/11/2017 11:19:22 AM     ROYAL MAID                  GCYI11                 1520 WHISTABLE COURT
05/11/2017 01:17:45 PM     chris dorworth              639PA                  1520 WHISTABLE COURT
05/11/2017 02:16:08 PM     LANDSHARK                   EYUD81                 1520 WHISTABLE COURT
05/11/2017 05:18:28 PM     REBEKAH                     HKXOR                  1520 WHISTABLE COURT
05/11/2017 06:22:11 PM     MORRIS RANDALL              AHEK66                 1520 WHISTABLE COURT
05/11/2017 11:12:42 PM     MATTHEW CALDWELL (DENIED)   DENIED    NOT ON LIS   1520 WHISTABLE COURT
05/11/2017 11:48:17 PM     MATTHEW CALDWELL            YCP443                 1520 WHISTABLE COURT
05/12/2017 01:56:59 PM     melany martinez- uber       EPWE92                 1520 WHISTABLE COURT


Tuesday, October 3, 2023                                                                         Page 1 of 10




                                                                                         HeathrowMaster0001
       Case 6:23-cv-00871-CEM-DCI Document 194-3 Filed 09/19/24 Page 3 of 11 PageID 3822




Entry time                 Guest name                         Tag #1    Tag #2       Destination:
05/12/2017 02:13:05 PM     Yapo Jon                           K637W                  1520 WHISTABLE COURT
05/12/2017 11:38:35 PM     LOVEJOY ADAM                       M297UA                 1520 WHISTABLE COURT
05/12/2017 11:38:36 PM     SETZER JONATHAN ALEXANDER          GWYY49                 1520 WHISTABLE COURT
05/12/2017 11:40:38 PM     PACE MICAH                         HPN41                  1520 WHISTABLE COURT
05/12/2017 11:43:21 PM                                        EQNM36                 1520 WHISTABLE COURT
05/13/2017 02:42:17 AM     STEVEN DONNER                      HCZW34                 1520 WHISTABLE COURT
05/14/2017 09:01:47 AM     DORWORTH DONNA                     DMUB70                 1520 WHISTABLE COURT
05/14/2017 11:05:39 AM     REBEKAH DORWORTH                   639PA                  1520 WHISTABLE COURT
05/14/2017 05:30:21 PM     FRANK ARTTLES                      VUZ5347                1520 WHISTABLE COURT
05/14/2017 09:45:37 PM     PAPA JOES                          GNQP32                 1520 WHISTABLE COURT
05/15/2017 08:51:35 AM     jamie burns royal maids (DENIED)   DENIED    NOT ON LIS   1520 WHISTABLE COURT
05/15/2017 09:10:34 AM     royal maids all in                 GCYI11                 1520 WHISTABLE COURT
05/15/2017 10:00:52 AM     TOMPSON GAS                                               1520 WHISTABLE COURT
05/16/2017 12:16:43 AM     JAMES FOGLESO                      371QPE                 1520 WHISTABLE COURT
05/16/2017 09:00:18 AM                                        VUZ5347                1520 WHISTABLE COURT
05/16/2017 09:45:05 AM     APEX POOL                          HQFX70                 1520 WHISTABLE COURT
05/16/2017 02:54:57 PM     FRANK ARTILES                      VUZ5347                1520 WHISTABLE COURT
05/16/2017 03:23:03 PM     SERVICE ONE                        GHUF41                 1520 WHISTABLE COURT
05/16/2017 03:24:52 PM     SERVICE ONE                        HSIB94                 1520 WHISTABLE COURT
05/16/2017 04:41:10 PM     FELIX LUIS                         HSIB94.                1520 WHISTABLE COURT
05/16/2017 05:46:47 PM     PAPA JOES                          WQ98A                  1520 WHISTABLE COURT
05/16/2017 05:52:09 PM     SHIPT (DENIED)                     DENIED    NOT ON LIS   1520 WHISTABLE COURT
05/16/2017 05:54:41 PM     SHIPT                              CWDL91                 1520 WHISTABLE COURT
05/16/2017 08:24:31 PM     BRODEUR JASON                      HID1B                  1520 WHISTABLE COURT
05/16/2017 08:40:47 PM     FRANK IOPPOLO JR                   761QDJ                 1520 WHISTABLE COURT
05/17/2017 04:28:35 PM     SERVICE ONE                        HSIB94                 1520 WHISTABLE COURT
05/17/2017 04:30:04 PM     SERVICE ONE                        151OHT                 1520 WHISTABLE COURT
05/17/2017 05:38:57 PM     SETZER JONATHAN ALEXANDER          K435V                  1520 WHISTABLE COURT
05/17/2017 09:17:34 PM     RESEKAH DORWOR TH                  639PA                  1520 WHISTABLE COURT
05/17/2017 09:54:00 PM     BRODEUR JASON                      HID1B                  1520 WHISTABLE COURT
05/17/2017 10:06:02 PM     MATTHEW CALOWEL                    VCP443                 1520 WHISTABLE COURT
05/17/2017 10:17:53 PM     Code Given                         HKXOR                  1520 WHISTABLE COURT
05/18/2017 10:54:47 AM     SETZER JONATHAN ALEXANDER          K435V                  1520 WHISTABLE COURT
05/18/2017 02:07:45 PM     ROYAL MAIDS                        GCY112                 1520 WHISTABLE COURT
05/18/2017 07:30:18 PM     SHIPT                              1587KK                 1520 WHISTABLE COURT
05/18/2017 10:27:10 PM     CHRIS                              CYVD93                 1520 WHISTABLE COURT
05/19/2017 06:59:35 AM     FRANK IOPPOLO                      761QDJ                 1520 WHISTABLE COURT
05/19/2017 08:22:56 PM     PAPA JOES                          BXBL;31                1520 WHISTABLE COURT
05/19/2017 11:31:52 PM     RESEKAH DORWORTH                   639PA                  1520 WHISTABLE COURT
05/20/2017 10:02:56 AM     DORWORTH DONNA                     DMUB70                 1520 WHISTABLE COURT
05/20/2017 11:31:18 AM     DORWORTH DONNA                     DMUB70                 1520 WHISTABLE COURT
05/20/2017 01:29:15 PM     RUDISILL SUMMER                    SMRSTR                 1520 WHISTABLE COURT
05/20/2017 05:37:31 PM     CHRISTOPHER DORWORW                HKXOR                  1520 WHISTABLE COURT
05/20/2017 06:04:57 PM     UBBER                              GYRY06                 1520 WHISTABLE COURT
05/21/2017 07:01:58 PM     REBEKAH DORWOR H                   639PA                  1520 WHISTABLE COURT
05/22/2017 01:28:40 PM     jamie burns                        GC1111                 1520 WHISTABLE COURT
05/22/2017 05:11:46 PM     REBEKAH DORWORTH                   639PA                  1520 WHISTABLE COURT
05/22/2017 08:31:08 PM     Code Given                         HWVX893                1520 WHISTABLE COURT
05/22/2017 09:03:04 PM     Code Given                         639PA                  1520 WHISTABLE COURT
05/23/2017 09:38:25 AM     APEX POOL                          HQFX70                 1520 WHISTABLE COURT


Tuesday, October 3, 2023                                                                                Page 2 of 10




                                                                                                HeathrowMaster0002
       Case 6:23-cv-00871-CEM-DCI Document 194-3 Filed 09/19/24 Page 4 of 11 PageID 3823




Entry time                 Guest name                         Tag #1   Tag #2       Destination:
05/23/2017 11:37:59 AM     rebekah dorworth                   639PA                 1520 WHISTABLE COURT
05/23/2017 02:54:18 PM     marines carta                      GNJF64                1520 WHISTABLE COURT
05/23/2017 06:30:20 PM     Code Given                         EFRV05                1520 WHISTABLE COURT
05/23/2017 06:33:05 PM     Code Given                         639PA                 1520 WHISTABLE COURT
05/23/2017 07:52:21 PM     MORRIS RANDALL                     AHEK66                1520 WHISTABLE COURT
05/24/2017 04:32:49 PM     CHRIS DORWORTH                     639PA                 1520 WHISTABLE COURT
05/24/2017 06:53:21 PM     REBEKAH DORWORTH                   639PA                 1520 WHISTABLE COURT
05/25/2017 01:17:38 AM     LYFT                               EMW118                1520 WHISTABLE COURT
05/25/2017 11:56:09 AM     royal maids                        CXVB97                1520 WHISTABLE COURT
05/25/2017 03:31:35 PM     JAMES PALMER                       N871SF                1520 WHISTABLE COURT
05/25/2017 04:38:23 PM     MADISON DORWORTH                   CJSN09                1520 WHISTABLE COURT
05/25/2017 05:04:13 PM     REBEKAH                            639PA                 1520 WHISTABLE COURT
05/25/2017 06:08:21 PM     CONOR KELLY                        J737MS                1520 WHISTABLE COURT
05/25/2017 10:35:38 PM     CHRIS                              639PA                 1520 WHISTABLE COURT
05/26/2017 03:33:39 PM     REBEKAH                            6639PA                1520 WHISTABLE COURT
05/26/2017 10:10:30 PM     REBEKAH                            639PA                 1520 WHISTABLE COURT
05/27/2017 11:23:06 AM     DORWORTH DONNA                     DMUB70                1520 WHISTABLE COURT
05/28/2017 12:42:38 PM     DORWORTH DONNA                     DMUR70                1520 WHISTABLE COURT
05/28/2017 04:27:32 PM     DORWORTH DONNA                     DMUB70                1520 WHISTABLE COURT
05/30/2017 10:09:43 AM     APEX POOL                          HQFX70                1520 WHISTABLE COURT
05/30/2017 12:30:05 PM     royal maids jamie burns (DENIED)   DENIED   NOT ON LIS   1520 WHISTABLE COURT
05/30/2017 12:41:24 PM     royal maids                        GCYI11                1520 WHISTABLE COURT
05/30/2017 06:40:23 PM     JON YAPO                           K637W                 1520 WHISTABLE COURT
05/30/2017 06:44:07 PM     REBEKAH DORWORTH                   69PA                  1520 WHISTABLE COURT
05/31/2017 09:38:43 AM     STEVEN POULIOT                     300VZZ                1520 WHISTABLE COURT
05/31/2017 12:03:29 PM     steven pouliot                     300VZZ                1520 WHISTABLE COURT
05/31/2017 02:52:40 PM     REBEKAH DORWORTH                   639PA                 1520 WHISTABLE COURT
05/31/2017 03:17:22 PM     ALL IN                             GSBT97                1520 WHISTABLE COURT
05/31/2017 03:25:37 PM     ALL IN                             C83BM                 1520 WHISTABLE COURT
05/31/2017 03:28:42 PM     ALL IN                             735KIK                1520 WHISTABLE COURT
05/31/2017 03:38:33 PM     ALL IN                             IDFQ14                1520 WHISTABLE COURT
05/31/2017 03:39:15 PM     ALL IN                             HLNL56                1520 WHISTABLE COURT
05/31/2017 03:41:12 PM     ALL IN                             BHCZ14                1520 WHISTABLE COURT
05/31/2017 04:11:55 PM     ALL IN                             RFRV05                1520 WHISTABLE COURT
05/31/2017 04:46:43 PM     ALL IN                             434TGV                1520 WHISTABLE COURT
05/31/2017 05:46:33 PM     ALL IN                             BXBL31                1520 WHISTABLE COURT
05/31/2017 05:58:14 PM     ALL IN                             670PZR                1520 WHISTABLE COURT
05/31/2017 06:53:42 PM     ALL IN                             848TCB                1520 WHISTABLE COURT
05/31/2017 06:54:15 PM     ALL IN                             HSGG44                1520 WHISTABLE COURT
05/31/2017 07:25:09 PM     REGEKAH DORWORTH                   639PA                 1520 WHISTABLE COURT
05/31/2017 07:57:14 PM     ALL IN                             306XMF                1520 WHISTABLE COURT
05/31/2017 07:58:55 PM     ALL IN                             483PDH                1520 WHISTABLE COURT
05/31/2017 08:00:49 PM     ALL IN                             735KIK                1520 WHISTABLE COURT
05/31/2017 08:54:57 PM     CHRIS DORWORTH                     HKXOR                 1520 WHISTABLE COURT
05/31/2017 08:59:55 PM     REBEKAH DORWORTH                   639PA                 1520 WHISTABLE COURT
06/01/2017 07:26:04 AM     MELISSA BARRY                      N121LM                1520 WHISTABLE COURT
06/01/2017 02:39:55 PM     jamie burns                        GCYI11                1520 WHISTABLE COURT
06/01/2017 02:51:32 PM     chris dorworth                     HKXOR                 1520 WHISTABLE COURT
06/01/2017 03:14:25 PM                                        371QPE                1520 WHISTABLE COURT
06/01/2017 04:31:52 PM     CHRISTOPHER SPENCER                BRCT94                1520 WHISTABLE COURT


Tuesday, October 3, 2023                                                                               Page 3 of 10




                                                                                               HeathrowMaster0003
       Case 6:23-cv-00871-CEM-DCI Document 194-3 Filed 09/19/24 Page 5 of 11 PageID 3824




Entry time                 Guest name                Tag #1   Tag #2       Destination:
06/01/2017 11:29:37 PM     CHRIS DORWORT             HKXOR                 1520 WHISTABLE COURT
06/02/2017 12:19:46 PM     LAND SHARK                300VZZ                1520 WHISTABLE COURT
06/02/2017 01:29:15 PM     LANDSHARK                 300VZZ                1520 WHISTABLE COURT
06/02/2017 06:17:48 PM     REBEKAH DORWORTH          639PA                 1520 WHISTABLE COURT
06/02/2017 08:29:52 PM     MADISON DORWORTH          GBWA26                1520 WHISTABLE COURT
06/03/2017 12:02:05 AM     REBEKAH DORWORTH          639PA                 1520 WHISTABLE COURT
06/03/2017 08:06:34 AM     BURK PARSONS (DENIED)     DENIED   NOT ON LIS   1520 WHISTABLE COURT
06/03/2017 08:48:47 AM     BURK PARSONS (DENIED)     DENIED   NOT ON LIS   1520 WHISTABLE COURT
06/03/2017 08:49:21 AM     JESSE STIEMANN (DENIED)   DENIED   NOT ON LIS   1520 WHISTABLE COURT
06/03/2017 08:51:27 AM     BURK PARSONS              HKXOR                 1520 WHISTABLE COURT
06/03/2017 08:51:53 AM     JESSE STIEMANN            8876JZ                1520 WHISTABLE COURT
06/03/2017 09:18:09 AM     STEVEN POUUOT             300VZZ                1520 WHISTABLE COURT
06/03/2017 02:57:09 PM     RUDISILL SUMMER           SMSTR                 1520 WHISTABLE COURT
06/03/2017 04:02:56 PM     REBEXAH DORWORT           639PA                 1520 WHISTABLE COURT
06/03/2017 10:31:34 PM     REBEKAH DORWO RTH         639PA                 1520 WHISTABLE COURT
06/04/2017 05:13:35 PM     CHRIS DORWORTH            HKXOR                 1520 WHISTABLE COURT
06/05/2017 08:32:33 AM     TOMPSON GAS               N936U                 1520 WHISTABLE COURT
06/05/2017 01:42:23 PM     chris dorwroth                                  1520 WHISTABLE COURT
06/05/2017 01:43:26 PM     caleb wood                708RXB                1520 WHISTABLE COURT
06/05/2017 02:14:23 PM     royal maids               GCYI11                1520 WHISTABLE COURT
06/05/2017 08:19:35 PM     CHRIS                     HKXOR                 1520 WHISTABLE COURT
06/05/2017 08:21:10 PM     JON - YAPO                K637W                 1520 WHISTABLE COURT
06/05/2017 08:22:36 PM     BRODEUR JASON             HID1B                 1520 WHISTABLE COURT
06/06/2017 09:23:21 AM     chris dorworth            HKX                   1520 WHISTABLE COURT
06/06/2017 10:03:56 AM     APEX POOL                 HQFX70                1520 WHISTABLE COURT
06/06/2017 12:29:40 PM     chris dorworth            HKXOR                 1520 WHISTABLE COURT
06/06/2017 05:44:03 PM     CHRIS DORWORTH            HKXOR                 1520 WHISTABLE COURT
06/06/2017 08:15:00 PM     MORRIS RANDALL            AHEK66                1520 WHISTABLE COURT
06/06/2017 08:28:01 PM     CHRIS DORWORTH            HKXOR                 1520 WHISTABLE COURT
06/07/2017 11:38:19 AM     MICHAEL DARR              EJNM76                1520 WHISTABLE COURT
06/07/2017 03:15:24 PM     REBEKAH DORWORTH          639PA                 1520 WHISTABLE COURT
06/07/2017 05:29:00 PM     RICHARDS JUSTIN           670PZR                1520 WHISTABLE COURT
06/07/2017 10:18:23 PM     RESEKAH DORWORTH          639PA                 1520 WHISTABLE COURT
06/07/2017 10:33:02 PM     FEDERICO VEGA             838QIY   UBBER        1520 WHISTABLE COURT
06/08/2017 08:25:38 AM     UBER                      HIBS31                1520 WHISTABLE COURT
06/08/2017 09:17:00 AM     REBEKAH DORWORTH          63PA                  1520 WHISTABLE COURT
06/08/2017 12:35:10 PM     ROYAL MAIDS               GCYI11                1520 WHISTABLE COURT
06/08/2017 04:18:00 PM     ALBERT KAMINSKY           DNUY87                1520 WHISTABLE COURT
06/08/2017 06:56:27 PM     COLLIN WALLACE            454XLA                1520 WHISTABLE COURT
06/08/2017 06:57:46 PM     MORRIS RANDALL            AHEK66                1520 WHISTABLE COURT
06/08/2017 06:58:04 PM     REBEKAH                   639PA                 1520 WHISTABLE COURT
06/08/2017 11:45:05 PM     UBER                      GVCL12                1520 WHISTABLE COURT
06/09/2017 08:20:40 AM     UBER                      GZXW14                1520 WHISTABLE COURT
06/09/2017 10:46:36 AM     CHRIS DORWORTH            NA                    1520 WHISTABLE COURT
06/10/2017 06:33:32 PM     JOHN NEWSTREET            HLPU50                1520 WHISTABLE COURT
06/10/2017 07:13:44 PM     RUDISILL MICHAEL          SMRSTR                1520 WHISTABLE COURT
06/10/2017 09:09:00 PM     PAPA JOES                 BXBL31                1520 WHISTABLE COURT
06/11/2017 10:56:21 AM     CHRIS DORWORTH            HKXOR                 1520 WHISTABLE COURT
06/12/2017 08:46:49 AM     jamie burns               GCYI11                1520 WHISTABLE COURT
06/13/2017 10:11:34 AM     APEX POOL                 HQFX70                1520 WHISTABLE COURT


Tuesday, October 3, 2023                                                                      Page 4 of 10




                                                                                      HeathrowMaster0004
       Case 6:23-cv-00871-CEM-DCI Document 194-3 Filed 09/19/24 Page 6 of 11 PageID 3825




Entry time                 Guest name                                Tag #1    Tag #2       Destination:
06/15/2017 11:14:20 AM     ROYAL MAIDS (DENIED)                      DENIED    NOT ON LIS   1520 WHISTABLE COURT
06/15/2017 11:19:26 AM     ALL IN                                    GCYI12                 1520 WHISTABLE COURT
06/20/2017 09:57:36 AM     APEX POOL                                 HQFX70                 1520 WHISTABLE COURT
06/21/2017 02:35:32 AM     CHRISTOP DORV                             HKXOR                  1520 WHISTABLE COURT
06/21/2017 01:25:26 PM     CHRIS DORWORTH                            HKXOR                  1520 WHISTABLE COURT
06/21/2017 04:48:47 PM     ROSEMARIE WALLACE                         M656AI                 1520 WHISTABLE COURT
06/21/2017 10:59:05 PM     CHRISTOPHER OORWORTH                      HKXOR                  1520 WHISTABLE COURT
06/22/2017 06:46:43 PM     JOSEF FORTUN UBER                         G147ZG                 1520 WHISTABLE COURT
06/22/2017 11:04:23 PM     UBER                                      GGP5871                1520 WHISTABLE COURT
06/23/2017 12:25:17 AM     CHR DORW ORTH                             HKXOR                  1520 WHISTABLE COURT
06/23/2017 01:19:10 AM     UBER                                      92533GP                1520 WHISTABLE COURT
06/23/2017 08:28:33 AM     CAROL ROBBINS                             EFRV05                 1520 WHISTABLE COURT
06/23/2017 02:17:46 PM     KRYSTAL SUAREZ                            KM40J                  1520 WHISTABLE COURT
06/23/2017 02:30:29 PM     CHRIS DORWORTH                            HKXOR                  1520 WHISTABLE COURT
06/23/2017 04:17:43 PM     FRANK ARTILES                             HVRD90                 1520 WHISTABLE COURT
06/23/2017 05:32:25 PM     BRODEUR JASON                             HID1B                  1520 WHISTABLE COURT
06/23/2017 05:59:54 PM     SHIPT                                     BFRA74                 1520 WHISTABLE COURT
06/23/2017 09:50:16 PM     FRANK ARTILES                             HVRD90                 1520 WHISTABLE COURT
06/24/2017 03:26:01 PM     PACE MICAH                                HPN41                  1520 WHISTABLE COURT
06/24/2017 04:38:41 PM     CRISTINA BERTOT                           IDFQ14                 1520 WHISTABLE COURT
06/24/2017 05:18:19 PM     EMILY BERGER                              HLNN56                 1520 WHISTABLE COURT
06/25/2017 11:04:09 AM     KATHTN BOWYER                             Y45EAI                 1520 WHISTABLE COURT
06/25/201701:56:01 PM      CHRISTOPHER DORWORTH                      HKXOR                  1520 WHISTABLE COURT
06/25/2017 09:22:08 PM     STEPHAN LANCE                             966MDD                 1520 WHISTABLE COURT
06/26/2017 09:47:29 AM     chris dorworth                            HKXOR                  1520 WHISTABLE COURT
06/26/2017 11:06:42 AM     ROYAL MAIDS                               CXVB97                 1520 WHISTABLE COURT
06/26/2017 02:37:50 PM     TOMPSON GAS                                                      1520 WHISTABLE COURT
06/26/2017 11:57:45 PM     EMMSTOPPER DORWORTH                       HKXOR                  1520 WHISTABLE COURT
06/27/2017 07:24:31 PM     CHRISTOPHER DORWORTH                      HKXOR                  1520 WHISTABLE COURT
06/27/2017 07:41:22 PM     Yapo Jon                                  K637W                  1520 WHISTABLE COURT
06/28/2017 08:26:01 AM     POLLY HAMMOND                             K340HJ                 1520 WHISTABLE COURT
06/28/2017 09:57:17 AM     APEX POOL                                 HQFX70                 1520 WHISTABLE COURT
06/28/2017 12:09:49 PM     MARINES CARTA                             GNJF64                 1520 WHISTABLE COURT
06/28/2017 01:29:09 PM     chris dorworth                            HKXOR                  1520 WHISTABLE COURT
06/28/2017 02:37:08 PM     FRANK ARTILES                             IFZU24                 1520 WHISTABLE COURT
06/28/2017 02:41:36 PM     chris dorworth                            HKXOR                  1520 WHISTABLE COURT
06/28/2017 02:57:00 PM     LYNZIE FESS                               051RHX                 1520 WHISTABLE COURT
06/28/2017 03:45:41 PM     CHRISTOPHER DORWORTH                      IFZU24                 1520 WHISTABLE COURT
06/28/2017 05:17:23 PM     HELEN PAKKALA                             EMVN91                 1520 WHISTABLE COURT
06/28/2017 07:53:09 PM     SHIPT                                     CWDL91    3            1520 WHISTABLE COURT
06/28/2017 11:46:52 PM     CHRISTOP DORWORTH                         HKXOR                  1520 WHISTABLE COURT
06/29/2017 11:55:34 AM     carol robbins                             EFRV05                 1520 WHISTABLE COURT
06/29/2017 01:06:42 PM     ROYAL MAIDS                               CXVB97                 1520 WHISTABLE COURT
06/29/2017 01:12:01 PM     CHRISTOPHER DORWORTH                      HKXOR                  1520 WHISTABLE COURT
06/29/2017 03:20:23 PM     CHRIS                                     HKXOR                  1520 WHISTABLE COURT
06/29/2017 07:35:15 PM     CHRIS                                     HKXOR                  1520 WHISTABLE COURT
06/30/2017 06:25:54 PM     FRANK IOPPOLO                             761QDJ                 1520 WHISTABLE COURT
07/01/2017 10:35:37 AM     frank ioppolo                             761DDJ                 1520 WHISTABLE COURT
07/01/2017 12:02:19 PM     ABBY GREENBERG                            HVWT24                 1520 WHISTABLE COURT
07/03/2017 01:29:15 PM     MARINES CARTA lasership amazon (DENIED)   DENIED    NOT ON LIS   1520 WHISTABLE COURT


Tuesday, October 3, 2023                                                                                       Page 5 of 10




                                                                                                       HeathrowMaster0005
       Case 6:23-cv-00871-CEM-DCI Document 194-3 Filed 09/19/24 Page 7 of 11 PageID 3826




Entry time                 Guest name                  Tag #1     Tag #2       Destination:
07/03/2017 02:01:37 PM     royal maids                 CXVB97                  1520 WHISTABLE COURT
07/03/2017 07:08:56 PM     JOHN YAPPO                  639PA                   1520 WHISTABLE COURT
07/05/2017 10:28:08 AM     APEX POOL                   HQFX70                  1520 WHISTABLE COURT
07/06/2017 07:30:03 PM     FRANK IOPPOLO               761QDJ                  1520 WHISTABLE COURT
07/06/2017 10:57:00 PM     FRANK IOPPOLO               761DUJ                  1520 WHISTABLE COURT
07/09/2017 07:44:03 PM     MORRIS RANDALL              AHEK66                  1520 WHISTABLE COURT
07/09/2017 07:44:57 PM     CHRISTOPHER DORWORD         HKXOR                   1520 WHISTABLE COURT
07/10/2017 11:16:29 AM     ROYAL MAIDS (DENIED)        DENIED     NOT ON LIS   1520 WHISTABLE COURT
07/10/2017 11:20:41 AM     ROYAL MAIDS                 GCYI11                  1520 WHISTABLE COURT
07/10/2017 10:37:33 PM     T DORWOP                    HKXOR                   1520 WHISTABLE COURT
07/11/2017 09:30:56 AM     APEX POOL                   HQFX70                  1520 WHISTABLE COURT
07/11/2017 01:21:16 PM     chris dorworth              HKXOR                   1520 WHISTABLE COURT
07/11/2017 04:27:03 PM      DORWORTH                   HKXOR                   1520 WHISTABLE COURT
07/11/2017 05:07:46 PM     SHIPT                       EZTL05                  1520 WHISTABLE COURT
07/11/2017 05:49:39 PM     LOVEJOY ADAM                DOT31168                1520 WHISTABLE COURT
07/11/2017 05:53:38 PM      FISCHER                    HLGC62                  1520 WHISTABLE COURT
07/12/2017 02:36:10 PM     chris dorworth                                      1520 WHISTABLE COURT
07/12/2017 10:50:16 PM     CHRIS DORY OR TH            HKXOR                   1520 WHISTABLE COURT
07/13/2017 12:00:41 AM     SETZER JONATHAN ALEXANDER   456BTN                  1520 WHISTABLE COURT
07/13/2017 02:00:06 AM     UBER                        EMXI08                  1520 WHISTABLE COURT
07/13/2017 04:11:01 AM     UBER                        848NZY                  1520 WHISTABLE COURT
07/13/2017 01:49:35 PM     ASHLEY STOCKWELL            CXVB93                  1520 WHISTABLE COURT
07/13/2017 07:17:16 PM     FRANK IOPPOLO               761QDJ                  1520 WHISTABLE COURT
07/13/2017 09:06:38 PM     FRANK IOPPOLO               7610DJ                  1520 WHISTABLE COURT
07/14/2017 02:33:38 PM     chris dorworth              HKXOR                   1520 WHISTABLE COURT
07/14/2017 04:13:00 PM     SETZER JONATHAN ALEXANDER   K435V                   1520 WHISTABLE COURT
07/15/2017 03:20:45 PM     MIKE FISHER                 HLGC62                  1520 WHISTABLE COURT
07/15/2017 04:42:24 PM     G        B                                          1520 WHISTABLE COURT
07/15/2017 06:15:21 PM     A        B                                          1520 WHISTABLE COURT
07/15/2017 08:50:01 PM     K          M                                        1520 WHISTABLE COURT
07/15/2017 11:15:14 PM     JOESEPH ELLICOTT (DENIED)   DENIED     NOT ON LIS   1520 WHISTABLE COURT
07/15/2017 11:16:44 PM     JOESPH ELLICOTT             BGJOE78                 1520 WHISTABLE COURT
07/16/2017 02:04:30 PM     C DORWORTH                  HKKX025                 1520 WHISTABLE COURT
07/16/2017 05:15:03 PM     B          G                                        1520 WHISTABLE COURT
07/16/2017 06:08:00 PM                                 371QPE                  1520 WHISTABLE COURT
07/16/2017 08:31:48 PM     PAPA JOES                   ATQD84                  1520 WHISTABLE COURT
07/16/2017 08:40:49 PM     JOSEPH ELLICOTT             BGJOE78                 1520 WHISTABLE COURT
07/16/2017 10:05:04 PM     S        F                                          1520 WHISTABLE COURT
07/16/2017 11:10:20 PM     MIKE FISCHER                371QPE                  1520 WHISTABLE COURT
07/17/2017 10:04:55 AM     royal maids                 GCYI1                   1520 WHISTABLE COURT
07/17/2017 01:36:08 PM     chris dorworth              HKXOR                   1520 WHISTABLE COURT
07/17/2017 02:57:14 PM     SETZER JONATHAN ALEXANDER   MIT        GISQ09       1520 WHISTABLE COURT
07/17/2017 05:19:03 PM     UBBER                       695QWU                  1520 WHISTABLE COURT
07/17/2017 08:43:11 PM     BRODEUR JASON               HID1B                   1520 WHISTABLE COURT
07/17/2017 09:14:59 PM     PACE MICAH                  HPN41                   1520 WHISTABLE COURT
07/17/2017 11:49:07 PM     LEYTON SERVICE              HCZU92                  1520 WHISTABLE COURT
07/18/2017 08:32:16 AM     APEX POOL                   HQFX70                  1520 WHISTABLE COURT
07/18/2017 06:40:44 PM     SHIPT                       GZGBB                   1520 WHISTABLE COURT
07/19/2017 11:55:38 AM     kyndal dimon                T57LUS                  1520 WHISTABLE COURT
07/19/2017 12:35:46 PM     radian global logistics                             1520 WHISTABLE COURT


Tuesday, October 3, 2023                                                                          Page 6 of 10




                                                                                          HeathrowMaster0006
       Case 6:23-cv-00871-CEM-DCI Document 194-3 Filed 09/19/24 Page 8 of 11 PageID 3827




Entry time                 Guest name                   Tag #1    Tag #2       Destination:
07/19/2017 12:46:40 PM     JACOB ENGELS                 BP5D86                 1520 WHISTABLE COURT
07/19/2017 04:28:15 PM     SETZER JONATHAN ALEXANDER    K435V                  1520 WHISTABLE COURT
07/19/2017 07:41:04 PM     MORRIS RANDALL               AHEK66                 1520 WHISTABLE COURT
07/20/2017 12:20:40 PM     ROYAL MAIDS (DENIED)         DENIED    NOT ON LIS   1520 WHISTABLE COURT
07/20/2017 12:25:40 PM     ROYAL MAIDS                  GCY1011                1520 WHISTABLE COURT
07/20/2017 02:10:39 PM     FRANK ARTILES                IFZU24                 1520 WHISTABLE COURT
07/20/2017 05:49:43 PM     FRANK ARTILES                IFZU24                 1520 WHISTABLE COURT
07/20/2017 06:07:37 PM     GRAHAM GOERNER               GFWM02                 1520 WHISTABLE COURT
07/21/2017 01:12:24 PM     hector aguayo                HMMZ83                 1520 WHISTABLE COURT
07/21/2017 04:42:57 PM     FRANK ARTILES                IFUZ24                 1520 WHISTABLE COURT
07/21/2017 04:45:27 PM     DAVID WORKMAN                528ND                  1520 WHISTABLE COURT
07/21/2017 04:46:06 PM     BRODEUR JASON                HID1B                  1520 WHISTABLE COURT
07/21/2017 04:57:07 PM     BRADY BENFORD                W102F                  1520 WHISTABLE COURT
07/21/2017 05:40:51 PM     ROBERTO CUADRADO UBER        GTER05                 1520 WHISTABLE COURT
07/21/2017 06:48:15 PM     NATHANIEL JEAN               CGS5778                1520 WHISTABLE COURT
07/21/2017 09:35:25 PM     PACE MICAH                   HPN41                  1520 WHISTABLE COURT
07/21/2017 10:35:45 PM     BRADY BENFORD                WT865                  1520 WHISTABLE COURT
07/21/2017 11:00:58 PM     UBER (DENIED)                DENIED    NOT ON LIS   1520 WHISTABLE COURT
07/21/2017 11:05:13 PM     CANLOS PADRO                 EAKB92                 1520 WHISTABLE COURT
07/22/2017 11:13:18 AM     FRANK ARTILE                 IFZU14                 1520 WHISTABLE COURT
07/22/2017 01:44:23 PM     FRANK ARTILES                IFZU24                 1520 WHISTABLE COURT
07/22/2017 03:20:07 PM     BRODEUR JASON                HID1B                  1520 WHISTABLE COURT
07/22/2017 03:40:46 PM     SHIPT                        GYBM24                 1520 WHISTABLE COURT
07/22/2017 05:10:31 PM     SHIPT                        CWDL91                 1520 WHISTABLE COURT
07/22/2017 05:38:43 PM     FRANK ARTTLE-S               IFZU24                 1520 WHISTABLE COURT
07/22/2017 07:49:41 PM     JOEL GREENBERG               HHWZ34                 1520 WHISTABLE COURT
07/22/2017 09:34:57 PM                                  EGZ6                   1520 WHISTABLE COURT
07/22/2017 10:52:24 PM     FRANK ARTILES                IFZU24                 1520 WHISTABLE COURT
07/22/2017 11:29:22 PM     UBER                         022XWN                 1520 WHISTABLE COURT
07/22/2017 11:51:06 PM     M        (DENIED)            DENIED    NOT ON LIS   1520 WHISTABLE COURT
07/22/2017 11:52:41 PM     M        Z        (DENIED)   DENIED    NOT ON LIS   1520 WHISTABLE COURT
07/22/2017 11:56:53 PM     M        Z                                          1520 WHISTABLE COURT
07/23/2017 06:17:57 AM     LYFT                         HSGG21                 1520 WHISTABLE COURT
07/24/2017 10:59:15 AM     BRODEUR JASON                HID18                  1520 WHISTABLE COURT
07/24/2017 01:08:26 PM     royal maids                  GCYI13                 1520 WHISTABLE COURT
07/24/2017 05:30:39 PM     MEUGS DELGUIDICE             BQRB41                 1520 WHISTABLE COURT
07/24/2017 05:48:54 PM     BURANWJ PARSONS              HT08X                  1520 WHISTABLE COURT
07/24/2017 05:54:15 PM     KEVIN STRUCK                 P1489                  1520 WHISTABLE COURT
07/24/2017 05:55:44 PM     JOHN COBB                    K232KT                 1520 WHISTABLE COURT
07/24/2017 06:04:04 PM     GLENN DIAZ                   EPWG96                 1520 WHISTABLE COURT
07/24/2017 06:32:37 PM     RUDISILL MICHAEL             SK9IWJW                1520 WHISTABLE COURT
07/25/2017 08:34:45 AM     APEX POOL                    HQFX70                 1520 WHISTABLE COURT
07/25/2017 05:42:24 PM     LOVEJOY ADAM                 M297UA                 1520 WHISTABLE COURT
07/25/2017 06:58:15 PM     JON 2YAPO                    K637W                  1520 WHISTABLE COURT
07/26/2017 08:31:44 PM     MORRIS RANDALL               AHEK66                 1520 WHISTABLE COURT
07/28/2017 01:40:27 PM     frank ioppolo                761DDJ                 1520 WHISTABLE COURT
07/29/2017 05:25:35 PM     DAN TAYLOR                   18155BG                1520 WHISTABLE COURT
07/29/2017 07:40:44 PM     ABBY GREENBERG               HVW124                 1520 WHISTABLE COURT
07/30/2017 10:27:04 AM     SETZER JONATHAN ALEXANDER    K435V                  1520 WHISTABLE COURT
07/31/2017 09:20:57 AM     service one                  HS1B94                 1520 WHISTABLE COURT


Tuesday, October 3, 2023                                                                          Page 7 of 10




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       Case 6:23-cv-00871-CEM-DCI Document 194-3 Filed 09/19/24 Page 9 of 11 PageID 3828




Entry time                 Guest name                                          Tag #1    Tag #2    Destination:
07/31/2017 06:01:06 PM     JOHN YAPPO                                          K637W                1520 WHISTABLE COURT
07/31/2017 06:02:13 PM     SETZER JONATHAN ALEXANDER                           K432V                1520 WHISTABLE COURT
07/31/2017 11:39:57 PM     Yapo Jon                                            K637W                1520 WHISTABLE COURT
08/01/2017 08:44:47 AM     APEX POOL                                           HQRX70               1520 WHISTABLE COURT
08/02/2017 07:26:39 AM     KRISITIAN VADASZ                                                         1520 WHISTABLE COURT
08/02/2017 08:01:21 AM     DUSINBERRE DON                                      HS1B99               1520 WHISTABLE COURT
08/02/2017 08:23:29 AM     Service One                                         071084               1520 WHISTABLE COURT
08/02/2017 08:46:32 AM     floor crafters expired dl lucas rodriguez (DENIED   DENIED    EXPIRED DL 1520 WHISTABLE COURT
08/02/2017 08:59:54 AM     floor crafters                                      EAHP65               1520 WHISTABLE COURT
08/02/2017 09:26:28 AM     floor crafters                                      EAHP65               1520 WHISTABLE COURT
08/02/2017 12:12:52 PM     floor crafters                                      HZNG15               1520 WHISTABLE COURT
08/02/2017 08:33:11 PM     MORRIS RANDALL                                      AHEK66               1520 WHISTABLE COURT
08/03/2017 08:18:05 AM     paul poleon                                         HLGY57               1520 WHISTABLE COURT
08/03/2017 01:06:22 PM     floor crafters                                      FBC756               1520 WHISTABLE COURT
08/03/2017 10:28:57 PM     MORRIS RANDALL                                      AHEK66               1520 WHISTABLE COURT
08/03/2017 10:49:03 PM     JOSEPH ELLICOTT                                     BGJOE78              1520 WHISTABLE COURT
08/04/2017 11:51:11 AM     abf freight                                                              1520 WHISTABLE COURT
08/04/2017 05:00:09 PM     shipt                                               EZTL05               1520 WHISTABLE COURT
08/04/2017 05:43:55 PM     shipt                                               1025XF               1520 WHISTABLE COURT
08/04/2017 06:49:02 PM     BRODEUR JASON                                       HID1B                1520 WHISTABLE COURT
08/06/2017 10:49:55 AM     BRODEUR JASON                                       HID1B                1520 WHISTABLE COURT
08/06/2017 04:01:46 PM     PAUL UBER                                                     774TS      1520 WHISTABLE COURT
08/06/2017 07:09:12 PM     FRAN IOPPOLO JR                                     716QDJ               1520 WHISTABLE COURT
08/06/2017 09:39:23 PM     POLLY HAMMOND                                       K34OHJ               1520 WHISTABLE COURT
08/07/2017 01:01:56 PM     TOMPSON GAS                                                              1520 WHISTABLE COURT
08/07/2017 07:33:04 PM     SHIRT                                               CWDL81               1520 WHISTABLE COURT
08/08/2017 08:43:48 AM     APEX POOL                                           HQFX70               1520 WHISTABLE COURT
08/09/2017 01:21:47 PM     shipt delivery                                      003RHP               1520 WHISTABLE COURT
08/09/2017 04:15:43 PM     BRODEUR JASON                                       HID1B                1520 WHISTABLE COURT
08/10/2017 05:39:52 PM     MORRIS RANDALL                                      AHEK66               1520 WHISTABLE COURT
08/11/2017 04:49:43 PM     JON 2                                               K637W                1520 WHISTABLE COURT
08/11/2017 06:31:40 PM     CAROL ANN ROBBINS                                   EFRVO5               1520 WHISTABLE COURT
08/11/2017 09:10:42 PM     PAPPA JOES                                          WPB71                1520 WHISTABLE COURT
08/12/2017 03:23:39 PM      HAMMOND POLLY                                      K34QHJ               1520 WHISTABLE COURT
08/12/2017 04:23:37 PM     CAITL AYUB                                          HAW172               1520 WHISTABLE COURT
08/12/2017 04:28:07 PM     SYDNEY MILLER                                       TALK2U               1520 WHISTABLE COURT
08/13/2017 11:32:56 AM     Yapo Jon                                            K637W                1520 WHISTABLE COURT
08/15/2017 09:10:41 AM     APEX POOL                                           HQFX70               1520 WHISTABLE COURT
08/16/2017 09:03:29 AM     EDWARD HENNESSEY                                    UD96                 1520 WHISTABLE COURT
08/17/2017 11:06:57 AM     rosa fernandez stott                                331MJR               1520 WHISTABLE COURT
08/17/2017 04:45:45 PM     GEORGE KRAMER                                       GMK                  1520 WHISTABLE COURT
08/17/2017 05:01:14 PM     MORRIS RANDALL                                      AHEK66               1520 WHISTABLE COURT
08/17/2017 09:09:17 PM     REBEKA                                              PF329H               1520 WHISTABLE COURT
08/18/2017 09:16:04 AM     REBEKAH DORWORTH                                    PF329H               1520 WHISTABLE COURT
08/18/2017 10:33:39 AM     ROSA FERNANDEZ SCOTT                                331MJR               1520 WHISTABLE COURT
08/18/2017 10:34:13 AM     MARIA MENDEZ                                        IFGH31               1520 WHISTABLE COURT
08/18/2017 12:30:31 PM     BLAKE WEBB                                          479VGK               1520 WHISTABLE COURT
08/18/2017 12:31:06 PM     JESSE BROWNELL                                      696RTE               1520 WHISTABLE COURT
08/18/2017 12:31:42 PM     WILLIAM WATSON                                      J596RM               1520 WHISTABLE COURT
08/18/2017 02:25:50 PM     REBEKAH DORWORTH                                    PF329H               1520 WHISTABLE COURT


Tuesday, October 3, 2023                                                                                              Page 8 of 10




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      Case 6:23-cv-00871-CEM-DCI Document 194-3 Filed 09/19/24 Page 10 of 11 PageID 3829




Entry time                 Guest name                  Tag #1   Tag #2   Destination:
08/18/2017 08:08:36 PM     REBEKAH DORWORTH                              1520 WHISTABLE COURT
08/19/2017 09:19:18 AM     ROSA FERNANDEZ -STOTT       331MHR            1520 WHISTABLE COURT
08/19/2017 09:20:19 AM     NORMA LEGUIZAMON            IFVX98            1520 WHISTABLE COURT
08/19/2017 02:43:20 PM     REBEKAH DORWORTH            PF329H            1520 WHISTABLE COURT
08/21/2017 07:03:11 AM     OAK CONSTRUCTION            696RTE            1520 WHISTABLE COURT
08/21/2017 07:04:28 AM     OAK CONSTRUCTION            J59QRM            1520 WHISTABLE COURT
08/21/2017 08:52:50 AM     norma leguizamon            IFVK98            1520 WHISTABLE COURT
08/21/2017 09:12:09 AM     JESSE BROWNELL              696RTE            1520 WHISTABLE COURT
08/22/2017 07:01:49 AM     WILLIAM WATSON              J59QRM            1520 WHISTABLE COURT
08/22/2017 07:02:33 AM     JESSE BROWNELL              696RTE            1520 WHISTABLE COURT
08/22/2017 08:50:30 AM     APEX POOL                   HQFX70            1520 WHISTABLE COURT
08/22/2017 08:59:17 AM     norma leguizamon            IFVX98            1520 WHISTABLE COURT
08/22/2017 11:19:06 AM     blake webb                  479VGK            1520 WHISTABLE COURT
08/22/2017 02:57:47 PM     norma leguizamon            IFV               1520 WHISTABLE COURT
08/22/2017 04:01:07 PM     BLAKE WEBB                  479VGK            1520 WHISTABLE COURT
08/22/2017 05:41:20 PM     MORRIS RANDALL              AHEK66            1520 WHISTABLE COURT
08/22/2017 09:54:06 PM     RESEKAH DORWORTH            FF3PK4            1520 WHISTABLE COURT
08/23/2017 07:02:12 AM     OAKWOOD CONSTRUCTION        J59QRM            1520 WHISTABLE COURT
08/23/2017 07:02:43 AM     JESP BROW EL                696RTE            1520 WHISTABLE COURT
08/23/2017 02:22:41 PM     rebekah dorworth            PF329H            1520 WHISTABLE COURT
08/23/2017 03:53:17 PM     REBERAH DORWOR T -          PF329H            1520 WHISTABLE COURT
08/23/2017 04:21:33 PM     REBEKAH DORWORTH            PF325H            1520 WHISTABLE COURT
08/23/2017 06:25:42 PM     MARSHALL ASHLYN             CXUY26            1520 WHISTABLE COURT
08/23/2017 07:01:09 PM     RICHARDS JUSTIN             670PZR            1520 WHISTABLE COURT
08/23/2017 07:26:28 PM     FRANK IOPPOLO JR            761QDJ            1520 WHISTABLE COURT
08/24/2017 07:02:09 AM     OAKWOOD CONSTRUCTION        J590RM   66RTE    1520 WHISTABLE COURT
08/24/2017 09:55:02 AM     rebekah dorworth            PF329H            1520 WHISTABLE COURT
08/24/2017 11:41:38 AM     shipt grociers              U098              1520 WHISTABLE COURT
08/24/2017 01:38:25 PM     norma leguizamon            7577XG            1520 WHISTABLE COURT
08/24/2017 04:25:56 PM     ROSA FERNANDEZ              331MJR            1520 WHISTABLE COURT
08/24/2017 07:15:29 PM     MATTHEW CALDWELL            VCP443            1520 WHISTABLE COURT
08/24/2017 07:24:08 PM     BRODEUR JASON               HID18             1520 WHISTABLE COURT
08/24/2017 08:17:15 PM     LUKE CLASSON                PH061J            1520 WHISTABLE COURT
08/25/2017 07:03:45 AM     OAKWOOD CONSTRUCTION        J590RM            1520 WHISTABLE COURT
08/25/2017 07:04:06 AM     JESSE BROWNELL              696RTE            1520 WHISTABLE COURT
08/25/2017 01:47:17 PM     ROBERT CORTES               HCG829            1520 WHISTABLE COURT
08/25/2017 06:54:05 PM     FRARK IOPPOLO               761QOJ            1520 WHISTABLE COURT
08/26/2017 07:38:17 PM     SETZER JONATHAN ALEXANDER   K435V             1520 WHISTABLE COURT
08/26/2017 08:15:20 PM     PACE MICAH                  HPN41             1520 WHISTABLE COURT
08/26/2017 08:19:10 PM     LOVEJOY ADAM                NA                1520 WHISTABLE COURT
08/26/2017 08:23:06 PM     JOEL GREENBERG              HHWZ34            1520 WHISTABLE COURT
08/26/2017 08:36:33 PM     RUDISILL MICHAEL            SMRSTR            1520 WHISTABLE COURT
08/26/2017 09:10:25 PM     PAPA JOES                   WD98A             1520 WHISTABLE COURT
08/26/2017 10:37:05 PM     JOSEPH ELLICOTT             BGJ578            1520 WHISTABLE COURT
08/28/2017 09:37:28 AM     service one                 HLGY57            1520 WHISTABLE COURT
08/28/2017 09:51:35 AM     TOMPSON GAS                 N9361U            1520 WHISTABLE COURT
08/28/2017 12:52:36 PM     shipt grociers              DCMQ37            1520 WHISTABLE COURT
08/28/2017 02:22:37 PM     norma leguizamon            7577XG            1520 WHISTABLE COURT
08/28/2017 03:47:04 PM     REBECCA HAMMOND                               1520 WHISTABLE COURT
08/29/2017 09:54:44 AM     APEX POOL                   HQFX70            1520 WHISTABLE COURT


Tuesday, October 3, 2023                                                                    Page 9 of 10




                                                                                    HeathrowMaster0009
      Case 6:23-cv-00871-CEM-DCI Document 194-3 Filed 09/19/24 Page 11 of 11 PageID 3830




Entry time                 Guest name                      Tag #1   Tag #2   Destination:
08/29/2017 01:40:36 PM     rebekah dorworth                PF329H            1520 WHISTABLE COURT
08/29/2017 07:15:26 PM     REBEKAH HAMMOND DORWORTH        PF329H            1520 WHISTABLE COURT
08/30/2017 10:24:52 AM     michael largent pressure wash   4421CY            1520 WHISTABLE COURT
08/30/2017 11:49:30 AM     mike pressure wash              4421CY            1520 WHISTABLE COURT
08/30/2017 11:58:37 AM     phillip corbitt                 HFBV30            1520 WHISTABLE COURT
08/30/2017 02:34:09 PM     mike largent pressure wash      HFBV30            1520 WHISTABLE COURT
08/30/2017 03:42:47 PM     REBEKAH                         PF325H            1520 WHISTABLE COURT
08/30/2017 05:53:30 PM     MIKE LARGENT PRESSURE WASHING   4421CY            1520 WHISTABLE COURT
08/30/2017 06:32:56 PM     RICHARDS JUSTIN                 670PZR            1520 WHISTABLE COURT
08/31/2017 09:58:05 AM     NORMA LEGUIZAMON                7577XG            1520 WHISTABLE COURT
08/31/2017 11:18:03 AM     MIKES PRESSURE CLEANING         4421CY            1520 WHISTABLE COURT
08/31/2017 03:07:16 PM     MICHAEL LARGENT                 4421CY            1520 WHISTABLE COURT
08/31/2017 08:40:20 PM     REBEKAH                         PF329H            1520 WHISTABLE COURT

Total Entries:             460




Tuesday, October 3, 2023                                                                       Page 10 of 10




                                                                                        HeathrowMaster0010
